              Case 18-11235-M Document 30 Filed in USBC ND/OK on 10/18/18 Page 1 of 6

                                              UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF OKLAHOMA

 In Re:                                                              }
                                                                     } Case Number: 18-11235-M
 FOSTER, SR, Jimmy Lee                                               } Chapter 13
       SSN: xxx-xx-8081                                              }
                                                                     }
                                       Debtor.                       }

                                                             CHAPTER 13 PLAN                                   V. 03/15/18
                                                                           Select One:
                                                                           AMENDED PLAN PRECONFIRMATION

Part 1:                Notices

Debtor(s) must check “Included” on each line in the following chart for the provisions related to that paragraph to be effective.
If a box is not checked, the Plan does not include the provision, and the provision will be ineffective if set out later in the Plan.
1.1       This Plan contains nonstandard provision(s), set out in Part 8                                      ☒ Included
1.2       This Plan limits the amount of a secured claim in Part 3, Section 3.2.2 based on a valuation of the ☒ Included
          collateral for the claim that may result in a partial payment or no payment to the secured creditor
1.3       This Plan avoids a security interest or lien in Part 3, Section 3.5                                 ☐ Included

To Debtors:        The presence of an option on this form does not indicate that the option is appropriate in your circumstances. Plans
                   that do not comply with local rules and prior judicial rulings may not be confirmable.
To Creditors:      Your rights may be affected by this Plan. Your claim may be reduced, modified, or eliminated.
                   You should read this Plan carefully and discuss it with your attorney.
                   If you oppose the Plan’s treatment of your claim or any provision of this Plan, you or your attorney must file an
                   objection to confirmation at least seven (7) days before the date set for the hearing on confirmation, unless otherwise
                   ordered by the Bankruptcy Court. The Bankruptcy Court may confirm this Plan without further notice if no objection
                   to confirmation is filed. See Federal Rule of Bankruptcy Procedure 3015. You are required to timely file a proof of
                   claim in order to receive payments under any Plan. If you do not timely file a proof of claim you may not
                   receive any payments under the Plan and funds that you otherwise would have received may be paid to other
                   creditors and a Court could find that you have waived your right to payment of the amounts that would
                   otherwise be due to you under applicable nonbankruptcy law.

Part 2:                Plan Payments and Length of Plan

2.1 Debtor(s) will make regular payments to the Trustee as follows:
      $1,250.00 per month for months 1-3
      $1,100.00 per month for months 4-60;
      Insert additional lines if needed for step payments.
      Plan payments to the Trustee shall commence on or before (July 21, 2018) 30 days after the Chapter 13 Petition is filed.
      The Trustee’s preset percentage fee established by the Attorney General of the United States or its designee shall be deducted from
      each payment upon receipt and transferred to the Chapter 13 Expense Account.
      If the Trustee is paying current ongoing postpetition mortgage payments under Section 3.1 of this Plan, upon the filing of a Notice
      of Payment Change by the mortgage servicer under Federal Rule of Bankruptcy Procedure 3002.1(b), or a Notice of Fees, Expenses
      and Charges under Federal Rule of Bankruptcy Procedure 3002.1(c), the Trustee is authorized (but not required) to increase the
      Debtor(s)’ Plan payments to accommodate any increases stated in the notice(s) without necessity of formal modification of the Plan.
      In the event that the Plan payment is increased by the Trustee under this provision, the Debtor(s) and Debtor(s)’ Attorney will be
      given seven (7) days’ notice and opportunity to object to such increase.
            Case 18-11235-M Document 30 Filed in USBC ND/OK on 10/18/18 Page 2 of 6

2.2 Income tax refunds.
    Debtor(s) will timely file all required income tax returns and supply the Trustee with a complete copy (including all attachments)
    of each income tax return (both state and federal) filed during the Plan term within fourteen (14) days of filing the return and will
    turn over to the Trustee all net income tax refunds, minus earned income tax credits, received during the Plan term. Income tax
    refunds shall be paid to the Trustee in addition to the Plan payments stated above.

2.3 Additional payments.
     Check one.
     ☒ None. If “None” is checked, the rest of § 2.3 need not be completed or reproduced.
     ☐ Debtor(s) will make additional payment(s) to the Trustee from other sources, as specified below. Describe the source, estimated
       amount, and date of each anticipated payment.




Part 3:              Treatment of Secured Claims

3.1 Maintenance of payments on claims secured only by principal residence of Debtor(s) and cure of default, if any.
    Check one.
    ☐ None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
    ☒ Debtor(s) will maintain the current ongoing postpetition installment payments on the secured claims listed below, with any
      changes required by the applicable contract and noticed in conformity with any applicable rules. The current ongoing monthly
      payments will be disbursed either by the Trustee or directly by the Debtor(s), as specified below. Any existing arrearage on a
      listed claim will be paid in full through disbursements by the Trustee, with interest, if any, at the rate stated. Unless otherwise
      ordered by the Court, the amounts stated on a timely filed proof of claim under Federal Rule of Bankruptcy Procedure 3002(c)
      shall control over any contrary amounts stated below with respect to the current installment payment and the total amount of
      arrearage. If relief from the automatic stay is ordered as to the principal residence listed in this paragraph, then, unless otherwise
      specifically ordered by the Court, all payments under this paragraph as to that collateral or principal residence including
      arrearage payments will cease, and all secured claims based on that collateral will no longer be treated by the Plan. The final
      column includes only payments disbursed by the Trustee rather than by the Debtor(s).

                   Provision for Ongoing Monthly Mortgage Payments on Principal Residence
                                                                                                                                  Number of
                                                                                    Current monthly                            Payments through
              Name of Creditor                          Collateral                installment payment      Monthly Payments        Trustee

  The Money Source, Inc.                    Residence:                       $863.89                       $863.89            0
                                            2025 N. Rosedale Ave.            Disbursed by:
                                            Tulsa, OK 74127                  ☐ Trustee
                                                                             ☒ Debtor(s)
Payments received by holders and/or servicers of mortgage claims for ongoing postpetition installment payments shall be applied and
credited to the Debtor(s)’ mortgage account as if the account were current and no prepetition default existed on the petition date. No
late charges, fees or other monetary amounts shall be assessed due to the timing of any payments made by the Trustee under the Plan.


 Provision for Mortgage Arrearage Payments on Principal Residence
                                                                                                        Interest rate
                                                                                                             on
                                                           Amount                          Total          arrearage
                                                              of      Gap Payment*       amount of            (if       Monthly      Number of
       Name of Creditor               Collateral          arrearage   (if applicable)    arrearage       applicable)    Payments     Payments

 The Money Source, Inc.       Residence:                  $70.29     N/A             $70.29 0.00 %            Paid direct to creditor by
                              Prepetition Arrearage                                                                   borrower
 The Money Source, Inc.       Residence:                $900.00      N/A            $900.00   0.00%           Paid direct to creditor by
                              NPMFEC                                                                                  borrower
*For purposes of this Plan, when the ongoing postpetition mortgage payment is disbursed by the Trustee, the term “Gap Payment” is

                                                                                                                                    2|P age
            Case 18-11235-M Document 30 Filed in USBC ND/OK on 10/18/18 Page 3 of 6

defined as the ongoing postpetition mortgage payment(s) that becomes due between the petition date and the first day of the month
following the due date of the first Plan payment to the Trustee.
3.2 Payment of fully secured claims, requests for valuation of collateral, and modification of undersecured claims.
    Check one.
    ☐ None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

    ☒ 3.2.2 Requests for valuation of collateral and modification of undersecured claims.
    This subsection will be effective only if the box at Part 1.2 of this Plan is checked.
    The Debtor(s) request that the Court determine the amount of the secured claims listed below with respect to non-governmental
    units. For each non-governmental secured claim listed below, the Debtor(s) state that the amount of the secured claim should be
    determined to be the amount stated in the column headed “Amount of secured claim”. For secured claims of governmental units,
    unless otherwise ordered by the Court, the amount of a secured claim listed in a timely filed proof of claim controls over any
    contrary amount listed below. The amount stated below in the “Monthly Payments and Number of Payments” column for each
    secured creditor shall be binding on that creditor, including governmental units, under 11 U.S.C. § 1327(a).
         The portion of any allowed claim that exceeds the amount of the secured claim as determined under this Section of the Plan,
         will be treated as an unsecured claim under Part 5, § 5.2 of this Plan. If the amount of a creditor’s secured claim is listed below
         as having no value, or if the creditor files its claim as an unsecured claim, the creditor’s allowed claim will be treated in its
         entirety as an unsecured claim under Part 5, § 5.2 of this Plan.
         The holder of any claim listed below as having value in the column headed “Amount of secured claim” will retain the lien on
         the property securing such claim until the earlier of:
             (a) payment of the underlying debt determined under nonbankruptcy law, or
             (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the
                 creditor.

                                                      This claim is
                                                        provided
                                        Amount of       Adequate                    Amount of                                        Total of
                                         Creditor’s    Protection*     Value of      Secured     Interest   Monthly     Number of   Monthly
   Name of Creditor        Collateral   Total Claim   (Indicate Yes    Collateral     Claim        Rate     Payments    Payments    Payments
                                                         or No)
 JP Morgan Chase Rental Property        $57,367.71        No          $27,000.00    $27,000.00   5.0 %        $155.61     1-10       $31,034.60
                 2147 N                                                                                       $589.57    11-60
    Bank, N.A.
                        Frankfort Ave
                        Tulsa, OK
 OCCU                   2013 Chevy      $36,703.78        No          $17,150.00    $17,150.00    5.0%        $323.64     1-60       $19,418.40
                        Pickup                        (Non-PMSI)
         Insert additional claims as needed.
         *If “Yes” is indicated in this column, the named creditor is provided adequate protection under the provisions of 11 U.S.C.
         § 1326(a)(1)(C) in the manner stated in Local Rule 3070-2. If “No” is indicated in this column, or if the column is left
         blank, the creditor shall not be entitled to adequate protection.
3.3 Secured claims excluded from 11 U.S.C. § 506 by final paragraph of 11 U.S.C. § 1325(a)
     Check one.
    ☒ None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
3.4 Other Long-Term Secured Debts
     Check one.
    ☒ None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
3.5 Lien avoidance.
Check all that apply.
    ☒ None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
    Judicial liens will be avoided by separate motion. See 11 U.S.C. § 522(f)(1)(A).


                                                                                                                                    3|P age
              Case 18-11235-M Document 30 Filed in USBC ND/OK on 10/18/18 Page 4 of 6

3.6 Surrender of collateral.
      Check one.
      ☐ None. If “None” is checked, the rest of § 3.6 need not be completed or reproduced.
      ☒ The Debtor(s) elect to surrender to each creditor listed below the items of collateral listed below that secure the creditor’s claim.
        The Debtor(s) request that upon confirmation of this Plan the stay under 11 U.S.C. § 362(a) be terminated as to the listed
        collateral only and that the codebtor stay under § 1301 be terminated with regard to the collateral surrendered. Unless otherwise
        ordered by the Court, the codebtor stay under § 1301 shall remain in effect as to any unsecured claim resulting from disposition
        of the collateral. Any allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5, § 5.2
        below. If the creditor has timely filed a secured claim, the creditor shall have ninety (90) days from confirmation of the Plan
        to establish any deficiency and amend its proof of claim to state the deficiency. If the deficiency is not established by amended
        proof of claim within the 90 day period, it shall be disallowed for purposes of distribution by the Trustee.
                             Name of creditor                                                            Collateral

 Wells Fargo Dealer Services                                                                       2013 Nissan Rogue
   Insert additional claims as needed.

Part 4:                Treatment of Fees and Priority Claims

4.1 Domestic Support Obligations
      ☒ None. If “None” is checked, the rest of § 4.1 need not be completed or reproduced.
4.2 All Other Claims Entitled to Priority Status [Including Fees of Counsel for the Debtor(s)]
      ☐ None. If “None” is checked, the rest of § 4.2 need not be completed or reproduced.

                                                                                              Monthly            Number of       Total Payments
          Name of Creditor                  Description               Amount of Claim         Payments           Payments          by Trustee

 The Colpitts Law Firm             Legal Fees                                $5,435.00            $645.00              1-3           $5,435.00
                                                                                                  $500.00             4-10
      Insert additional claims as needed
      The amount of claim stated above shall not be construed to be a request for determination of the allowed priority claim amount
      under Federal Rule of Bankruptcy Procedure 3012. However, the creditor shall be bound by the “Monthly Payments and
      Number of Payments” stated above under 11 U.S.C. § 1327(a).
☒ Counsel for Debtor(s) has elected to file an application for allowance of attorney’s fees and costs.
      If this box is checked, Counsel for Debtor(s) shall file a fee application within 14 days following confirmation of the Chapter 13
      Plan. If the “Amount of Claim” above exceeds the amount of attorney fees allowed by the Court, the Trustee shall pay the excess
      to other creditors entitled to payment under the Plan. If Counsel for Debtor(s) fails to file a fee application within 14 days following
      confirmation of the Plan, or by such time as allowed by Court Order, the Trustee shall disburse the entire “Amount of Claim” to
      other creditors entitled to payment under the Plan.

Part 5:                Treatment of Nonpriority Unsecured Claims

5.1 Separately classified nonpriority unsecured claims.
      Check one.
      ☒ None. If “None” is checked, the rest of § 5.1 need not be completed or reproduced.
5.2       Nonpriority unsecured claims not separately classified.
       Allowed nonpriority unsecured claims that are not separately classified will be paid concurrently from funds remaining after
       disbursements have been made to all other creditors provided for in this Plan, on a pro rata basis. The actual payback to nonpriority
       unsecured claimants may vary and could be less than projected below depending on the total nonpriority unsecured claims actually




                                                                                                                                  4|P age
             Case 18-11235-M Document 30 Filed in USBC ND/OK on 10/18/18 Page 5 of 6

     filed and allowed, and how supplemental mortgage claims filed under Federal Rule of Bankruptcy Procedure 3002.1 are paid. See
     Parts 2.1 and 3.1.

            Unsecured as filed:                                                                  $9,821.23

            Add: Claims relegated to unsecured status:                                          $27,815.07

            Subtract: Unsecured claims separately classified above:                                   $0.00

            Total projected unsecured claims not separately classified:                         $37,636.30

            Projected (not guaranteed) amount available for these claims:                        $3,917.00
            Projected (but not guaranteed) percentage payback to holders of unsecured
                                                                                                   10.41 %
            claims that are not separately classified:

Part 6:               Executory Contracts and Unexpired Leases

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
    contracts and unexpired leases are rejected.
    Check one.
    ☒ None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

Part 7:               Property of the Estate, Stay and Other Provisions


    A. All property of the estate under 11 U.S.C. §§ 541 and 1306 at the time of confirmation of this Plan, and all property thereafter
       acquired and included in the estate under 11 U.S.C. § 1306, shall remain property of the estate until removed from the estate
       by statute or by separate order. The Debtor(s) shall remain in possession of property of the estate and be responsible for
       insuring and preserving it.
    B. If in effect at confirmation, and unless otherwise terminated as provided for in Part 3, § 3.5 above, the automatic stay provided
       in 11 U.S.C. § 362(a) and the codebtor stay provided in 11 U.S.C. § 1301(a) shall remain in full force and effect until terminated
       or modified by statute or by order of the Court.
    C. Confirmation of this Plan shall serve as a determination that the Debtor(s) have satisfactorily complied with 11 U.S.C. § 521(a)
       and the case shall not thereafter be subject to dismissal under 11 U.S.C. § 521(i).
    D. The Debtor(s) shall not incur any debts without prior approval of the Court, except as may be necessary for emergency medical
       care in circumstances where prior approval is not practical.
    E. If a priority or secured claim, including a mortgage arrearage claim, is filed for or amended to an amount less than the amount
       provided for in this Plan, the Trustee is authorized to pay the lesser amount.
    F.    If relief from the automatic stay is ordered as to any item of collateral securing a claim being paid under this Plan, then, unless
          otherwise specifically ordered by the Court, all payments to that secured creditor with respect to that claim will cease, and the
          Trustee is authorized to disburse any funds that the creditor would otherwise have been entitled to receive to other creditors
          under the Plan.
    G. If this Plan is a modified Plan filed under 11 U.S.C. §1329(a), then all payments made by the Debtor(s) and all disbursements
       made by the Trustee prior to the confirmation of this Plan are incorporated herein and supersede any other provision contained
       herein.




                                                                                                                                 5|P age
            Case 18-11235-M Document 30 Filed in USBC ND/OK on 10/18/18 Page 6 of 6

Part 8:              Nonstandard Plan Provisions

8.1 Check “None” or List Nonstandard Plan Provisions
    ☐ None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.
Under Federal Rule of Bankruptcy Procedure 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a
provision not otherwise included in the Local Form or deviating from it. Nonstandard provisions set out elsewhere in this Plan are void.
    The following nonstandard provisions will be effective only if there is a check in the box “Included” in Part 1, § 1.1:
       1.   With regard to the Rental Property located at 2147 N. Frankfort Ave, Tulsa, OK, the Debtor will purchase property
            insurance and pay all property taxes directly.

Part 9:              Signature(s):


9.1 Signatures of Debtor(s) and Attorney for Debtor(s)
    If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s)’ signatures are optional. The
    attorney for the Debtor(s), if any, must sign below.
    Each Debtor and Attorney signing below certifies that the wording and order of the provisions in this Chapter 13 Plan are
    identical to those contained in Local Form 3015-1 of the United States Bankruptcy Court for the Northern District of
    Oklahoma, or those contained in Local Form 3015-1(B) of the United States Bankruptcy Court for the Eastern District of
    Oklahoma, other than any nonstandard provisions included in Part 8.

 /s/ Greggory T. Colpitts                                        October 18, 2018
 Greggory T. Colpitts, OBA No.: 14381                            Date
 The Colpitts Law Firm
 6506 South Lewis, Suite 175
 Tulsa, OK 74136-1079
 918-747-9747
 greg@colpittslawfirm.us
 Attorney for Debtors




                                                                                                                              6|P age
